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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



IN RE PHARMACEUTICAL INDUSTRY
                                                     MDL NO. 1456
AVERAGE WHOLESALE PRICE
                                                     Master File No.: 01-12257-PBS
LITIGATION
                                                     Subcategory Case No: 03-10643-PBS
THIS DOCUMENT RELATES TO:
                                                     Judge Patti B. Saris
            The State of Iowa.
v.
            Abbott Laboratories, et al.


         [PROPOSED] ORDER OF DISMISSAL OF ALL CLAIMS BROUGHT BY
        THE STATE OF IOWA AGAINST DEFENDANT ETHEX CORPORATION


            The Motion for Dismissal filed by the State of Iowa and ETHEX Corporation is

     hereby GRANTED. All claims in this action brought by the State of Iowa against

     ETHEX Corporation are dismissed with prejudice and without costs to any party.

     SO ORDERED

     DATED:________________, 2010.



                                                       ______________________________
                                                       Judge Patti B. Saris




     ORDER OF DISMISSAL OF ALL CLAIMS BROUGHT BY
     THE STATE OF IOWA AGAINST DEFENDANT ETHEX CORPORATION                            PAGE 1
